             Case 24-01743-CL7                      Filed 05/15/24             Entered 05/15/24 16:26:28                     Doc 1     Pg. 1 of 70

Fill in this information to identify your case:

  United States Bankruptcy Court for the:
  Southern District of California

  Case number (If known):                                            Chapter you are filing under:
                                                                         Chapter 7
                                                                         Chapter 11
                                                                         Chapter 12
                                                                                                                                     Check if this is an
                                                                         Chapter 13
                                                                                                                                     amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor
2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:       Identify Yourself

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name
      Write the name that is on your    Jeffrey
      government-issued picture         First name                                                   First name
      identification (for example,
      your driver’s license or          Ryan
      passport).                        Middle name                                                  Middle name
                                        Smith
      Bring your picture
                                        Last name                                                    Last name
      identification to your meeting
      with the trustee.
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)



 2.   All other names you
      have used in the last 8          First name                                                    First name
      years
      Include your married or          Middle name                                                   Middle name
      maiden names and any
      assumed, trade names and
      doing business as names.         Last name                                                     Last name

                                      Mitch Matthews
      Do NOT list the name of any
      separate legal entity such as a Business name (if applicable)                                  Business name (if applicable)
      corporation, partnership, or    Squatch & Co.
      LLC that is not filing this     Business name (if applicable)
      petition.
                                      Sasquatch Digital
                                       Business name (if applicable)




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Debtor 1   Jeffrey           Ryan                   Smith                                                        Case number (if known)
           First Name        Middle Name            Last Name




 3.   Only the last 4 digits of
      your Social Security          xxx - xx - 3844                                              xxx - xx -
      number or federal
      Individual Taxpayer
      Identification number
      (ITIN)


                                    About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

 4.   Your Employer
      Identification Number
                                    EIN                                                          EIN
      (EIN), if any.


 5.   Where you live                                                                             If Debtor 2 lives at a different address:


                                    101 Park Plaza
                                    Number        Street                                         Number        Street

                                    Apt 104

                                    San Diego                        CA       92101
                                    City                             State    ZIP Code           City                             State    ZIP Code

                                    SAN DIEGO-CA
                                    County                                                       County



                                    If your mailing address is different from the one            If Debtor 2's mailing address is different from
                                    above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                    any notices to you at this mailing address.                  any notices to this mailing address.

                                    101 Park Plaza
                                    Number        Street                                         Number        Street



                                    P.O. Box                                                     P.O. Box

                                    San Diego                        CA       92101
                                    City                             State    ZIP Code           City                             State    ZIP Code




 6.   Why you are choosing          Check one:                                                   Check one:
      this district to file for
                                           Over the last 180 days before filing this petition,          Over the last 180 days before filing this petition,
      bankruptcy
                                           I have lived in this district longer than in any             I have lived in this district longer than in any
                                           other district.                                              other district.

                                           I have another reason. Explain.                              I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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Debtor 1   Jeffrey         Ryan                   Smith                                                        Case number (if known)
           First Name      Middle Name            Last Name




 Part 2:      Tell the Court About Your Bankruptcy Case


 7.   The chapter of the          Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                      Chapter 7
      under
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13


 8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                         I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


 9.   Have you filed for              No.
      bankruptcy within the           Yes. District                                 When                     Case Number
      last 8 years?                                                                        MM / DD / YYYY



10.   Are any bankruptcy              No.
      cases pending or being          Yes. Debtor                                                           Relationship to you
      filed by a spouse who is
      not filing this case with               District                              When                     Case Number, if known
      you, or by a business                                                                MM / DD / YYYY
      partner, or by an
      affiliate?


11.   Do you rent your                No.     Go to line 12
      residence?                      Yes. Has your landlord obtained an eviction judgment against you?

                                                    No    No. Go to line 12
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1   Jeffrey                Ryan                 Smith                                                          Case number (if known)
           First Name             Middle Name          Last Name




 Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 No.    Go to Part 4.
      of any full- or part-time                 Yes. Name and location of business
      business?
      A sole proprietorship is a
      business you operate as an                      Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                  Number        Street
      LLC.

      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it                     City                                                      State        ZIP Code
      to this petition.

                                                      Check the appropriate box to describe your business:
                                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                              None of the above


13.   Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
      Chapter 11 of the                  choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Bankruptcy Code and                are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business
                                         if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
      defined by 11 U.S.C.§                  No. I am not filing under Chapter 11.
      1182(1)?
                                             No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      For a definition of small                  the Bankruptcy Code.
      business debtor, see
      11 U.S.C. § 101(51D).                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                  Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                             Yes. I am filing under Chapter 11, I am a debtor according to the definition § 1182(1) of the
                                                  Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.



 Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                 No.
      property that poses or is              Yes.     What is the hazard?
      alleged to pose a threat
      of imminent and
      identifiable hazard to                          If immediate attention is
      public health or safety?                        needed, why is it needed?
      Or do you own any
      property that needs                             Where is the property?
      immediate attention?                                                           Number     Street

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?                                                     City                                     State      ZIP Code




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Debtor 1   Jeffrey               Ryan                  Smith                                                          Case number (if known)
           First Name            Middle Name           Last Name




 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                         About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit              You must check one:                                             You must check one:
      counseling.                              I received a briefing from an approved credit                I received a briefing from an approved credit
                                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you
                                               filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit
                                               certificate of completion.                                   certificate of completion.
      counseling before you file for
      bankruptcy. You must                     Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      truthfully check one of the              plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      following choices. If you
                                               I received a briefing from an approved credit                I received a briefing from an approved credit
      cannot do so, you are not                counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                        filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                   certificate of completion.
      If you file anyway, the court
      can dismiss your case, you               Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      will lose whatever filing fee            you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      you paid, and your creditors             plan, if any                                                 plan, if any
      can begin collection activities
                                               I certify that I asked for credit counseling                 I certify that I asked for credit counseling
      again.
                                               services from an approved agency, but was                    services from an approved agency, but was
                                               unable to obtain those services during the 7                 unable to obtain those services during the 7
                                               days after I made my request, and exigent                    days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                               of the requirement.                                          of the requirement.
                                               To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                               required you to file this case.                              required you to file this case.
                                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                               may be dismissed.                                            may be dismissed.
                                               Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                               days.                                                        days.

                                               I am not required to receive a briefing about                I am not required to receive a briefing about
                                               credit counseling because of:                                credit counseling because of:
                                                   Incapacity.     I have a mental illness or a mental          Incapacity.     I have a mental illness or a mental
                                                                   deficiency that makes                                        deficiency that makes
                                                                   meincapable of realizing or making                           meincapable of realizing or making
                                                                   rational decisions about finances.                           rational decisions about finances.

                                                   Disability.     My physical disability causes me             Disability.     My physical disability causes me
                                                                   to be unable to participate in a                             to be unable to participate in a
                                                                   briefing in person, by phone, or                             briefing in person, by phone, or
                                                                   through the internet, even after I                           through the internet, even after I
                                                                   reasonably tried to do so.                                   reasonably tried to do so.

                                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                                   duty in a military combat zone.                              duty in a military combat zone.
                                               If you believe you are not required to receive a             If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1   Jeffrey           Ryan                 Smith                                                          Case number (if known)
           First Name        Middle Name          Last Name




 Part 6:      Answer These Questions for Reporting Purposes

16.   What kind of debts do         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
      you have?                          as “incurred by an individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17
                                    16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                         money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17
                                    16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
                                           No. I am not filing under Chapter 7. Go to line 18
      Chapter 7?
      Do you estimate that after           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                   No
      administrative expenses
                                                     Yes
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                1-49                                  1,000-5,000                            25,001-50,000
      you estimate that you                50-99                                 5,001-10,000                           50,001-100,000
      owe?                                 100-199                               10,001-25,000                          More than 100,000
                                           200-999

19.   How much do you                      $0-$50,000                            $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to              $50,001-$100,000                      $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            $100,001-$500,000                     $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           $500,001-$1 million                   $100,000,001-$500 million              More than $50 billion

20.   How much do you                      $0-$50,000                            $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities            $50,001-$100,000                      $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                               $100,001-$500,000                     $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           $500,001-$1 million                   $100,000,001-$500 million              More than $50 billion

 Part 7:      Sign Below

                                    I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                            correct.
                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                    of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                    under Chapter 7.
                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                    this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                    18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    X Signature of Debtor 1                                        X Signature of Debtor 2
                                       Executed on 05/13/2024                                          Executed on
                                                    MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1   Jeffrey       Ryan                   Smith                                                          Case number (if known)
           First Name    Middle Name            Last Name




 For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
 represented by one              to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
                                 available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                 the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
 If you are not represented
                                 knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
 by an attorney, you do not
 need to file this page.

                                 X                                                                  Date
                                       Signature of Attorney for Debtor                                              MM / DD / YYYY




                                       Printed name


                                       Firm name


                                       Number       Street



                                       City                                                         State            ZIP Code


                                       Contact phone                                                Email address




                                       Bar number                                                   State




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 7
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Debtor 1   Jeffrey        Ryan                       Smith                                                                 Case number (if known)
           First Name     Middle Name                Last Name




 For you if you are filing this       The law allows you, as an individual, to represent yourself in bankruptcy court, but you
 bankruptcy without an                should understand that many people find it extremely difficult to represent
 attorney                             themselves successfully. Because bankruptcy has long-term financial and legal
                                      consequences, you are strongly urged to hire a qualified attorney.
 If you are represented by
 an attorney, you do not              To be successful, you must correctly file and handle your bankruptcy case. The rules are very
 need to file this page.              technical, and a mistake or inaction may affect your rights. For example, your case may be
                                      dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                      hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                      firm if your case is selected for audit. If that happens, you could lose your right to file another
                                      case, or you may lose protections, including the benefit of the automatic stay.
                                      You must list all your property and debts in the schedules that you are required to file with the
                                      court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                      in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                      property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                      also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                      case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                      cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                      If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                      hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                      successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                      Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                      be familiar with any state exemption laws that apply.

                                      Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                      consequences?
                                             No
                                             Yes

                                      Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                      inaccurate or incomplete, you could be fined or imprisoned?
                                             No
                                             Yes

                                      Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                             No
                                             Yes. Name of Person
                                                    Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

                                      By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                      have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                      attorney may cause me to lose my rights or property if I do not properly handle the case.


                                  X                                                                       X
                                      Signature of Debtor 1                                                   Signature of Debtor 2

                                      Date              05/13/2024                                            Date
                                                         MM / DD / YYYY                                                         MM / DD / YYYY


                                      Contact phone 415-846-7571                                              Contact phone


                                      Cell phone        415-846-7571                                          Cell phone


                                      Email address ryan@sasq.co                                              Email address




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
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Fill in this information to identify your case:

 Debtor 1              Jeffrey        Ryan                  Smith
                       First Name     Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name     Middle Name           Last Name

 United States Bankruptcy Court for the: Southern District of California
                                                                                                                                               Check if this is an
 Case number
 (If known)                                                                                                                                    amended filing




Official Form 106Dec
Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                 Sign Below



    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No
          Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                           Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
   that they are true and correct.




  X                                                               X
         Signature of Debtor 1                                          Signature of Debtor 2


         Date 05/13/2024                                                Date
                  MM / DD / YYYY                                               MM / DD / YYYY




Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
              Case 24-01743-CL7                            Filed 05/15/24                   Entered 05/15/24 16:26:28                                 Doc 1            Pg. 10 of 70

Fill in this information to identify your case:

 Debtor 1              Jeffrey                Ryan                       Smith
                       First Name             Middle Name                Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name             Middle Name                Last Name

 United States Bankruptcy Court for the: Southern District of California
                                                                                                                                                                             Check if this is an
 Case number                                                                                                                                                                 amended filing
 (If known)




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:               Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
      1a. Copy line 55, Total real estate, from Schedule A/B ......................................................................................................      $                 0.00

      1b. Copy line 62, Total personal property, from Schedule A/B ...........................................................................................           $        133,293.00

      1c. Copy line 63, Total of all property on Schedule A/B .....................................................................................................      $        133,293.00



 Part 2:               Summarize Your Liabilities


                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........                                        $          63,644.80

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ........................................                            $

      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ...................................                            + $        149,071.17


                                                                                                                                      Your total liabilities             $        212,715.97



 Part 3:               Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I .......................................................................................               $               855.00

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J .................................................................................................           $           6,036.00




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1 of 2
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Debtor 1    Jeffrey               Ryan                 Smith                                                       Case number (if known)
            First Name            Middle Name          Last Name




 Part 4:         Answer These Questions for Administrative and Statistical Records


 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

 7. What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.




 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                          $               0.00
     Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim


       From Part 4 on Schedule E/F, copy the following:



     9a. Domestic support obligations (Copy line 6a.)                                                     $


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                            $


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  $


     9d. Student loans. (Copy line 6f.)                                                                   $                0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as          $                0.00
           priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            + $                 0.00


     9g. Total. Add lines 9a through 9f.                                                                  $                0.00




Official Form 106Sum                          Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
                Case 24-01743-CL7                        Filed 05/15/24                  Entered 05/15/24 16:26:28                              Doc 1             Pg. 12 of 70
Fill in this information to identify your case:

Debtor 1              Jeffrey              Ryan                      Smith
                      First Name           Middle Name               Last Name
Debtor 2
(Spouse, if filing)
                      First Name           Middle Name               Last Name

United States Bankruptcy Court for the: Southern District of California
                                                                                                                                                                       Check if this is an
Case number
(If known)                                                                                                                                                             amended filing

 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                                          12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2.
           Yes. Where is the property?

                                                                    What is the property? Check all that apply.                         Do not deduct secured claims or exemptions. Put
                                                                          Single-family home                                            the amount of any secured claims on Schedule D:
                                                                                                                                        Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description          Duplex or multi-unit building
                                                                          Condominium or cooperative                                    Current value of the Current value of the
                                                                                                                                        entire property?     portion you own?
                                                                          Manufactured or mobile home
                                                                          Land                                                          $                              $
              City                      State    ZIP Code
                                                                          Investment property
                                                                          Timeshare                                                     Describe the nature of your ownership
                                                                                                                                        interest (such as fee simple, tenancy by
              County                                                      Other
                                                                                                                                        the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                          Debtor 1 only
                                                                          Debtor 2 only
                                                                                                                                              Check if this is community property
                                                                          Debtor 1 and Debtor 2 only                                          (see instructions)
                                                                          At least one of the debtors and another
                                                                    Other information you wish to add about this item,
                                                                    such as local property identification number:



2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here. .................................................................................................. è    $                 0.00




 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
           No
           Yes




 Official Form 106A/B                                               Schedule A/B: Property                                                                                      page 1
                 Case 24-01743-CL7                        Filed 05/15/24                  Entered 05/15/24 16:26:28                               Doc 1            Pg. 13 of 70
Debtor 1    Jeffrey                   Ryan                     Smith                                                                          Case number (if known)
            First Name                Middle Name              Last Name




      3.1     Make:                        Audi                      Who has an interest in the property? Check one.                     Do not deduct secured claims or exemptions. Put
              Model                        e-tron                          Debtor 1 only                                                 the amount of any secured claims on Schedule D:
                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                           Debtor 2 only
              Year:                        2022
                                                                           Debtor 1 and Debtor 2 only                                    Current value of the Current value of the
              Approximate mileage: 12000                                                                                                 entire property?     portion you own?
                                                                           At least one of the debtors and another
              Other information:

                                                                            Check if this is community property (see                      $             36,263.00 $                  0.00
                                                                            instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            No
            Yes


              Make:                                                  Who has an interest in the property? Check one.                      Do not deduct secured claims or exemptions. Put
              Model                                                        Debtor 1 only                                                  the amount of any secured claims on Schedule D:
                                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                           Debtor 2 only
              Year:
                                                                           Debtor 1 and Debtor 2 only                                     Current value of the Current value of the
              Other information:                                                                                                          entire property?     portion you own?
                                                                           At least one of the debtors and another


                                                                            Check if this is community property (see                      $                             $
                                                                            instructions)




 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here. .................................................................................................. è    $               0.00




 Official Form 106A/B                                                Schedule A/B: Property                                                                                   page 2
                Case 24-01743-CL7                 Filed 05/15/24           Entered 05/15/24 16:26:28                      Doc 1        Pg. 14 of 70
Debtor 1   Jeffrey                  Ryan              Smith                                                           Case number (if known)
           First Name               Middle Name       Last Name




 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                     Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured claims
                                                                                                                                       or exemptions.

 6.   Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe. ....... Home furnishings for personal use - $2000                                                              $              2,000.00



 7.   Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe. ....... LG 65" C1 4K HDR Smart OLED TV Model # OLED65C1PUB - $700; Sonos sound system                          $              5,700.00
                                  (multiple components) - $600; Personal Computer (Apple Mac mini) - $400; Various smart
                                  home technology - $200; iRobot Roomba - $400; Apple Smart Watch - $300; Apple iPhone -
                                  $500


 8.   Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe. .......                                                                                                        $



 9.   Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe. .......                                                                                                        $



 10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe. .......                                                                                                        $



 11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe. ....... Everyday Clothing                                                                                      $                300.00



 12. Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
           No
           Yes. Describe. .......                                                                                                        $




 Official Form 106A/B                                     Schedule A/B: Property                                                                       page 3
                Case 24-01743-CL7                             Filed 05/15/24                     Entered 05/15/24 16:26:28                                   Doc 1            Pg. 15 of 70
Debtor 1   Jeffrey                     Ryan                        Smith                                                                               Case number (if known)
           First Name                  Middle Name                 Last Name




 13. Non-farm animals
     Examples: Dogs, cats, birds, horses
           No
           Yes. Describe. ....... Three felines, two with chronic medical conditions.                                                                                          $             0.00



 14. Any other personal and household items you did not already list, including any health aids you did not list
           No
           Yes. Give specific                                                                                                                                                  $
           information. ..........


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here. ................................................................................................................................ è    $        8,000.00




 Official Form 106A/B                                                     Schedule A/B: Property                                                                                       page 4
                Case 24-01743-CL7                                    Filed 05/15/24                         Entered 05/15/24 16:26:28                                  Doc 1             Pg. 16 of 70
Debtor 1    Jeffrey                        Ryan                            Smith                                                                                 Case number (if known)
            First Name                     Middle Name                     Last Name




 Part 4:         Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                             Current value of the
                                                                                                                                                                                         portion you own?
                                                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                                                         or exemptions.


 16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           No
           Yes .............................................................................................................................................   Cash: .................    $

 17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
           Yes....................                                                                 Institution name:

                                                                                                                                                                                          $


 18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes....................           Institution or issuer name:

                                                                                                                                                                                          $


 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

           No
           Yes. Give specific
           information about
           them .....................        Name of entity:                                                                                                   % of ownership:

                                                                                                                                                                            0%            $


 20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

           No
           Yes. Give specific
           information about
           them .....................        Issuer name:

                                                                                                                                                                                          $


 21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No
           Yes. List each
           account separately. Type of account:                                             Institution name:

                                                                                                                                                                                          $




 Official Form 106A/B                                                              Schedule A/B: Property                                                                                                page 5
                Case 24-01743-CL7                            Filed 05/15/24               Entered 05/15/24 16:26:28                           Doc 1     Pg. 17 of 70
Debtor 1   Jeffrey                         Ryan                   Smith                                                                Case number (if known)
           First Name                      Middle Name            Last Name




 22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
     companies, or others
           No
           Yes..........................                                      Institution name or individual:

                                           Security deposit on rental unit:   GDCV II BP Village Podium REIT, LLC                                         $                3,993.00


 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

           No
           Yes.......................... Issuer name and description:

                                                                                                                                                          $


 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

           No
           Yes.......................... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                          $


 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
     exercisable for your benefit

           No
           Yes. Give specific                                                                                                                             $
           information about them .....


 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property

     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific                                                                                                                             $
           information about them .....

 27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific                                                                                                                             $
           information about them .....


 Money or property owed to you?                                                                                                                               Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

 28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                        Federal:                 $
                about them, including whether
                you already filed the returns                                                                                    State:                   $
                and the tax years. .....................
                                                                                                                                 Local:                   $




 Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 6
                Case 24-01743-CL7                     Filed 05/15/24           Entered 05/15/24 16:26:28                        Doc 1       Pg. 18 of 70
Debtor 1   Jeffrey                Ryan                   Smith                                                            Case number (if known)
           First Name             Middle Name            Last Name




 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information. ........                                                                  Alimony:                $
                                                                                                                     Maintenance:            $
                                                                                                                     Support                 $
                                                                                                                     Divorce Settlement:     $
                                                                                                                     Property Settlement:    $

 30. Other amounts someone owes you

     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
               Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information. ........                                                                                          $



 31. Interests in insurance policies

     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
           No
           Yes. Name the insurance company
                of each policy and list its value. .... Company name:                                 Beneficiary:

                                                                                                                                             $


 32. Any interest in property that is due you from someone who has died

     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
           No
           Yes. Give specific information. ........                                                                                          $



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment

     Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Give specific information. ........    I believe I have valid legal claims against my former landlord including for          $       100,000.00
                                                       premise liability; breach of contract; and more. Case is under evaluation by
                                                       law firm for potential representation on contingency. The value entered is not
                                                       based on any professional opinions, valuations, or guidance. Actual value
                                                       may be grossly over or understated.

 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
           No
           Yes. Give specific information. ........                                                                                          $



 35. Any financial assets you did not already list

           No
           Yes. Give specific information. ........                                                                                          $




 Official Form 106A/B                                         Schedule A/B: Property                                                                  page 7
               Case 24-01743-CL7                              Filed 05/15/24                     Entered 05/15/24 16:26:28                                   Doc 1            Pg. 19 of 70
Debtor 1   Jeffrey                     Ryan                        Smith                                                                               Case number (if known)
           First Name                  Middle Name                 Last Name




 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here ................................................................................................................................. è    $       103,993.00




 Official Form 106A/B                                                     Schedule A/B: Property                                                                                        page 8
                Case 24-01743-CL7                             Filed 05/15/24                     Entered 05/15/24 16:26:28                                   Doc 1            Pg. 20 of 70
Debtor 1   Jeffrey                     Ryan                        Smith                                                                               Case number (if known)
           First Name                  Middle Name                 Last Name




 Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.

                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                              or exemptions.

 38. Accounts receivable or commissions you already earned

           No
           Yes. Describe .......                                                                                                                                               $



 39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

           No
           Yes. Describe ....... Office furniture                                                                                                                              $                 300.00



 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe ....... Warehouse shelving and equipment                                                                                                              $               1,000.00



 41. Inventory

           No
           Yes. Describe ....... Sellable household goods                                                                                                                      $              20,000.00



 42 Interests in partnerships or joint ventures

           No
           Yes. Describe .......         Name of entity:                                                                                            % of ownership:

                                                                                                                                                              0%               $


 43. Customer lists, mailing lists, or other compilations

           No
           Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                       No
                       Yes. Describe .......                                                                                                                                   $



 44. Any business-related property you did not already list

           No
           Yes. Give specific
           information ...........

                                                                                                                                                                               $


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here ................................................................................................................................. è    $              21,300.00




 Official Form 106A/B                                                                                                                                                                         page 9
                                                                         Schedule A/B: Property
                Case 24-01743-CL7                              Filed 05/15/24                     Entered 05/15/24 16:26:28                                    Doc 1          Pg. 21 of 70
Debtor 1    Jeffrey                     Ryan                        Smith                                                                                Case number (if known)
            First Name                  Middle Name                 Last Name




                 Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:
                 If you own or have an interest in farmland, list it in Part 1.

 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                              or exemptions.

 47. Farm animals

     Examples: Livestock, poultry, farm-raised fish
           No
           Yes .....................                                                                                                                                           $



 48. Crops—either growing or harvested

           No
           Yes. Give specific                                                                                                                                                  $
           information ..........

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

           No
           Yes .....................                                                                                                                                           $



 50. Farm and fishing supplies, chemicals, and feed
           No                                                                                                                                                                  $
           Yes .....................



 51. Any farm- and commercial fishing-related property you did not already list
           No
           Yes. Give specific                                                                                                                                                  $
           information ..........


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here ...............................................................................................................................   è    $




 Official Form 106A/B                                                      Schedule A/B: Property                                                                                             page 10
                 Case 24-01743-CL7                               Filed 05/15/24                     Entered 05/15/24 16:26:28                                    Doc 1             Pg. 22 of 70
Debtor 1     Jeffrey                     Ryan                         Smith                                                                                Case number (if known)
             First Name                  Middle Name                  Last Name




 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
            No
            Yes. Give specific
             information ..........

                                                                                                                                                                                    $



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................................... è                                      $             0.00




 Part 8:          List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ....................................................................................................................................... è    $             0.00


 56. Part 2: Total vehicles, line 5                                                           $                          0.00

 57. Part 3: Total personal and household items, line 15                                      $                    8,000.00

 58. Part 4: Total financial assets, line 36                                                  $                103,993.00

 59. Part 5: Total business-related property, line 45                                         $                  21,300.00

 60. Part 6: Total farm- and fishing-related property, line 52                                $

 61. Part 7: Total other property not listed, line 54                                       +$                           0.00


 62. Total personal property. Add lines 56 through 61. ...........                            $                133,293.00          Copy personal property total è                  +$       133,293.00



 63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                          $       133,293.00




 Official Form 106A/B                                                        Schedule A/B: Property                                                                                          page 11
              Case 24-01743-CL7                      Filed 05/15/24               Entered 05/15/24 16:26:28                      Doc 1      Pg. 23 of 70

Fill in this information to identify your case:

 Debtor 1              Jeffrey             Ryan                  Smith
                       First Name          Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name          Middle Name           Last Name

 United States Bankruptcy Court for the: Southern District of California

 Case number                                                                                                                                    Check if this is an
 (If known)                                                                                                                                     amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

 Part 1:           Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

    Brief description of the property and line on            Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
    Schedule A/B that lists this property                    portion you own?

                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B


    Brief                   2022 Audi e-tron                 $                  0.00        $                                     California Code, Code of Civil
    description:                                                                                                                  Procedure - CCP § 704.010
                                                                                            100% of fair market value, up to
    Line from                                                                               any applicable statutory limit
    Schedule A/B: 3.1


    Brief                   Home furnishings for             $               2,000.00       $                                     California Code, Code of Civil
    description:            personal use - $2000                                                                                  Procedure - CCP § 704.020
                                                                                            100% of fair market value, up to
    Line from                                                                               any applicable statutory limit
    Schedule A/B: 6


    Brief                   LG 65" C1 4K HDR Smart           $               5,700.00       $                                     California Code, Code of Civil
    description:            OLED TV Model #                                                                                       Procedure - CCP § 704.020
                            OLED65C1PUB - $700;                                             100% of fair market value, up to
                            Sonos sound system                                              any applicable statutory limit
                            (multiple components) - $600;
                            Personal Computer (Apple
                            Mac mini) - $400; Various
                            smart home technology -
                            $200; iRobot Roomba - $400;
                            Apple Smart Watch - $300;
                            Apple iPhone - $500
    Line from
    Schedule A/B: 7



Official Form 106C                                          Schedule C: The property You Claim as Exempt                                               page 1 of 2
             Case 24-01743-CL7                     Filed 05/15/24            Entered 05/15/24 16:26:28                      Doc 1      Pg. 24 of 70
Debtor 1    Jeffrey                 Ryan                   Smith                                                       Case number (if known)
            First Name              Middle Name            Last Name




 Part 2:        Additional Page

    Brief description of the property and line on           Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
    Schedule A/B that lists this property                   portion you own?

                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B


    Brief                Everyday Clothing                  $             300.00       $                                     California Code, Code of Civil
    description:                                                                                                             Procedure - CCP § 704.020
                                                                                       100% of fair market value, up to
    Line from                                                                          any applicable statutory limit
    Schedule A/B: 11


    Brief                Three felines, two with            $               0.00       $                                     California Code, Code of Civil
    description:         chronic medical conditions.                                                                         Procedure - CCP § 704.020
                                                                                       100% of fair market value, up to
    Line from                                                                          any applicable statutory limit
    Schedule A/B: 13


    Brief                Security deposit on rental unit    $           3,993.00       $                                     California Code, Code of Civil
    description:         GDCV II BP Village Podium                                                                           Procedure - CCP § 704.020
                         REIT, LLC                                                     100% of fair market value, up to
                                                                                       any applicable statutory limit
    Line from
    Schedule A/B: 22.1


    Brief                Office furniture                   $             300.00       $                                     California Code, Code of Civil
    description:                                                                                                             Procedure - CCP § 704.060
                                                                                       100% of fair market value, up to
    Line from                                                                          any applicable statutory limit
    Schedule A/B: 39


    Brief                Warehouse shelving and             $           1,000.00       $                                     California Code, Code of Civil
    description:         equipment                                                                                           Procedure - CCP § 704.060
                                                                                       100% of fair market value, up to
    Line from                                                                          any applicable statutory limit
    Schedule A/B: 40


    Brief                Sellable household goods           $          20,000.00       $                                     California Code, Code of Civil
    description:                                                                                                             Procedure - CCP § 704.060
                                                                                       100% of fair market value, up to
    Line from                                                                          any applicable statutory limit
    Schedule A/B: 41


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                No
                Yes




Official Form 106C                                         Schedule C: The property You Claim as Exempt                                           page 2 of 2
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Fill in this information to identify your case:

 Debtor 1              Jeffrey               Ryan                  Smith
                       First Name            Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name            Middle Name           Last Name

 United States Bankruptcy Court for the: Southern District of California
                                                                                                                                                               Check if this is an
 Case number
 (If known)                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.


 Part 1:           List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                      Column A               Column B              Column C
                                                                                                                             Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                  Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                           value of collateral.   claim                 If any

2.1       Audi Financial Services                             Describe the property that secures the claim:                  $       63,644.80 $                          $
          Creditor’s Name                                     2022 Audi eTron
          1401 Franklin Blvd.
          Number          Street
                                                              As of the date you file, the claim is: Check all that apply.
                                                                   Contingent
          Libertyville              IL      60048
                                                                   Unliquidated
          City                      State   ZIP Code
                                                                   Disputed
          Who owes the debt? Check one.
                                                              Nature of lien. Check all that apply.
                 Debtor 1 only
                                                                   An agreement you made (such as mortgage or
                 Debtor 2 only                                     secured car loan)
                 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)

                 At least one of the debtors and another           Judgment lien from a lawsuit
                                                                   Other (including a right to offset)
                 Check if this claim is for a
                 community debt
          Date debt was incurred February 2, 2022             Last 4 digits of account number 5991


                                                              Column A dollar value totals from all pages.                   $       63,644.80




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                  Case 24-01743-CL7             Filed 05/15/24            Entered 05/15/24 16:26:28                    Doc 1        Pg. 26 of 70
Debtor 1    Jeffrey            Ryan                Smith                                                           Case number (if known)
            First Name         Middle Name         Last Name




 Part 2:          List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts in Part 1, do not fill out or submit this page.


                                                                                          On which line in Part 1 did you enter the creditor?
           Name
                                                                                          Last 4 digits of account number
           Number     Street




           City                                      State          ZIP Code




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 2
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Fill in this information to identify your case:

 Debtor 1              Jeffrey                Ryan              Smith
                       First Name             Middle Name       Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name             Middle Name       Last Name

 United States Bankruptcy Court for the: Southern District of California
                                                                                                                                                Check if this is an
 Case number
 (If known)                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:           List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
   each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
   nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
   unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
   (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim Priority         Nonpriority
                                                                                                                                     amount        amount
                                                               Last 4 digits of account number                               $           $            $
          Priority Creditor's Name
                                                               When was the debt incurred?
          Number       Street
                                                               As of the date you file, the claim is: Check all that apply

                                                                   Contingent
                                                                   Unliquidated
          City                        State      ZIP Code
                                                                   Disputed
          Who incurred the debt? Check one.
                                                               Type of PRIORITY unsecured claim:
                 Debtor 1 only
                                                                   Domestic support obligations
                 Debtor 2 only
                                                                   Taxes and certain other debts you owe the government
                 Debtor 1 and Debtor 2 only
                                                                   Claims for death or personal injury while you were
                 At least one of the debtors and another           intoxicated
                 Check if this claim is for a community debt       Other. Specify

          Is the claim subject to offset?
                 No
                 Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 14
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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            List ALL of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
   claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim

4.1        Capital One Financial Corporation (Spark Business Card)                Last 4 digits of account number 4047                                     $      6,127.19
           Nonpriority Creditor's Name

           PO Box 30285                                                           When was the debt incurred?
           Number       Street



           Salt Lake City                              UT          84130-0285     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Business Credit Card


4.2        Capital One Financial Corporation (Quicksilver Card)                   Last 4 digits of account number 3892                                     $     11,658.30
           Nonpriority Creditor's Name

           PO Box 30285                                                           When was the debt incurred?
           Number       Street



           Salt Lake City                              UT          84130-0285     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.3        American Express (Amazon Business Card)                                Last 4 digits of account number 3009                                     $     16,396.61
           Nonpriority Creditor's Name

           ATTN: Datamark INC.                                                    When was the debt incurred?
           Number       Street

           PO Box 53888 43 Bufferfield
           El Paso                                     TX          79906-3888     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 14
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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Business Credit Card
                  Yes


4.4        FIRST SAVINGS BANK (Blaze Mastercard)                                  Last 4 digits of account number 1505                                     $   2,229.90
           Nonpriority Creditor's Name

           PO Box 5096                                                            When was the debt incurred?
           Number       Street



           Sioux Falls                                 SD          57117-5096     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.5        First Bank & Trust (Mercury Mastercard)                                Last 4 digits of account number 6128                                     $   5,042.14
           Nonpriority Creditor's Name

           PO Box 84064                                                           When was the debt incurred?
           Number       Street



           Columbus                                    GA          31908-4064     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.6        Citibank, N.A. (Macys American Express)                                Last 4 digits of account number 0726                                     $   4,400.57
           Nonpriority Creditor's Name




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 14
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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim


           P.O. Box 6781                                                          When was the debt incurred?
           Number       Street



           Sioux Falls                                 SD          57117-6781     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.7        Citibank, N.A (AA Advantage Mastercard)                                Last 4 digits of account number 5250                                     $   6,434.68
           Nonpriority Creditor's Name

           P.O. Box 7032                                                          When was the debt incurred?
           Number       Street



           Sioux Falls                                 SD          57117-7032     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.8        Citibank, N.A (My Best Buy Credit Card)                                Last 4 digits of account number 2475                                     $   4,349.66
           Nonpriority Creditor's Name

           P.O. Box 790441                                                        When was the debt incurred?
           Number       Street



           St. Louis                                   MO          63179-0441     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 14
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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

                  Yes                                                                  Consumer Credit Card


4.9        TD Bank USA (Target Red Card)                                          Last 4 digits of account number 8949                                     $    2,221.78
           Nonpriority Creditor's Name

           Mail Stop NCB-0461                                                     When was the debt incurred?
           Number       Street

           P.O. Box 673
           Minneapolis                                 MN          55440-0673     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Consumer Credit Card
                  Yes


4.10       Synchrony Bank (CB2 Mastercard)                                        Last 4 digits of account number 5755                                     $   10,578.49
           Nonpriority Creditor's Name

           PO Box 71744                                                           When was the debt incurred?
           Number       Street



           Philadelphia                                PA          19176-1744     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.11       Synchrony Bank (Care Credit)                                           Last 4 digits of account number 1295                                     $   21,624.60
           Nonpriority Creditor's Name

           PO Box 71744                                                           When was the debt incurred?
           Number       Street



           Philadelphia                                PA          19176-1744     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans



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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.12       American Express (Blue Cash Preferred)                                 Last 4 digits of account number 2007                                     $   1,980.03
           Nonpriority Creditor's Name

           ATTN: Datamark INC.                                                    When was the debt incurred?
           Number       Street

           PO Box 53888 43 Bufferfield
           El Paso                                     TX                         As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Consumer Credit Card
                  Yes


4.13       Chase Bank N.A. (Freedom Unlimited Mastercard)                         Last 4 digits of account number 6817                                     $   2,592.31
           Nonpriority Creditor's Name

           P.O. Box 15298                                                         When was the debt incurred?
           Number       Street



           Wilmington                                  DE          19850-5298     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.14       Discover Bank (Discover IT Plum Card)                                  Last 4 digits of account number 8862                                     $   9,039.83
           Nonpriority Creditor's Name

           P.O. Box 30943                                                         When was the debt incurred?
           Number       Street



           Salt Lake City                              UT          84130-0943     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.




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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Consumer Credit Card


4.15       Goldman Sachs (Apple Card)                                             Last 4 digits of account number 4876                                     $   11,795.82
           Nonpriority Creditor's Name

           Lockbox 6112                                                           When was the debt incurred?
           Number       Street

           P.O. Box 7247
           Philadelphia                                PA          19170-6112     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Consumer Credit Card
                  Yes


4.16       First National Bank of Omaha - FNBO (Verizon Wireless                  Last 4 digits of account number 0922                                     $    7,181.32
           Mastercard)
           Nonpriority Creditor's Name                                            When was the debt incurred?
           P.O. Box 2340
           Number       Street


                                                                                  As of the date you file, the claim is: Check all that apply
           Omaha                                       NE          68103-2557
           City                                        State        ZIP Code           Contingent
                                                                                       Unliquidated
           Who incurred the debt? Check one.
                                                                                       Disputed
                  Debtor 1 only
                  Debtor 2 only                                                   Type of NONPRIORITY unsecured claim:

                  Debtor 1 and Debtor 2 only                                          Student loans
                  At least one of the debtors and another                             Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
                  Check if this claim is for a community debt                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                      Other. Specify
           Is the claim subject to offset?
                  No                                                                   Business Credit Card
                  Yes


4.17       American Express (Green Rewards Card)                                  Last 4 digits of account number 2004                                     $    4,955.06
           Nonpriority Creditor's Name




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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim


           ATTN: Datamark INC.                                                    When was the debt incurred?
           Number       Street

           PO Box 53888 43 Bufferfield
           El Paso                                     TX          79906-3888     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Business Credit Card
                  Yes


4.18       US Bank N.A. (Triple Cash Back Visa)                                   Last 4 digits of account number 2535                                     $   3,370.06
           Nonpriority Creditor's Name

           P.O. Box 6353                                                          When was the debt incurred?
           Number       Street



           Fargo                                       ND          58125-6353     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Business Credit Card


4.19       Amazon Services Inc (Seller Account)                                   Last 4 digits of account number TKOU                                     $   3,232.88
           Nonpriority Creditor's Name

           P.O. Box 81226                                                         When was the debt incurred?
           Number       Street



           Seattle                                     WA          98108-1226     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No



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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

                  Yes                                                                  Business Service Provider


4.20       Apple Inc                                                              Last 4 digits of account number T50F                                     $     247.88
           Nonpriority Creditor's Name

           One Apple Park Way                                                     When was the debt incurred?
           Number       Street



           Cupertino                                   CA          95014          As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Utility Provider


4.21       SoFi Bank, N.A.                                                        Last 4 digits of account number 9932                                     $   7,713.01
           Nonpriority Creditor's Name

           2750 East Cottonwood Parkway                                           When was the debt incurred?
           Number       Street

           Suite 300
           Salt Lake City                              UT          84121          As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Unsecured Loan
                  Yes


4.22       Affirm Lending                                                         Last 4 digits of account number VXJW                                     $   2,529.85
           Nonpriority Creditor's Name

           650 California Street                                                  When was the debt incurred?
           Number       Street



           San Francisco                               CA          94108          As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans



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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  D4KE-VXJW;
                                                                                       INMW-5E40;
                                                                                       HHGD-670G;
                                                                                       KSKM-EF2N;
                                                                                       2CC2-QK9P;
                                                                                       01VJ-52MY;
                                                                                       I9B3-O0QU;
                                                                                       7TTT-VTXM;
                                                                                       3NKL-A72J;
                                                                                       W3FY-1F9U;
                                                                                       OXI7-LXET;
                                                                                       XZ7R-5PI4;
                                                                                       Y5SN-LR56;

4.23       GDCV II BP Village Podium REIT, LLC                                    Last 4 digits of account number H104                                     $   2,051.96
           Nonpriority Creditor's Name

           101 Park Plaza                                                         When was the debt incurred? 05/01/2024
           Number       Street



           San Diego                                   CA          92101          As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Housing Provider


4.24       SDGE                                                                   Last 4 digits of account number 4511                                     $     542.22
           Nonpriority Creditor's Name

           P.O. Box 25111                                                         When was the debt incurred?
           Number       Street



           SANTA ANA                                   CA          92799-5111     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Utility Provider



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 10 of 14
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Debtor 1      Jeffrey                    Ryan                  Smith                                                          Case number (if known)
              First Name                 Middle Name           Last Name




 Part 2:            Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                                     Total claim

4.25       SDGE                                                                   Last 4 digits of account number 5932                                     $     517.38
           Nonpriority Creditor's Name

           P.O. Box 25111                                                         When was the debt incurred?
           Number       Street



           Santa Ana                                   CA          92799-5111     As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                  Yes                                                                  Utility Provider


4.26       Verizon Wireless                                                       Last 4 digits of account number 0140                                     $     123.25
           Nonpriority Creditor's Name

           Bankruptcy Administration                                              When was the debt incurred?
           Number       Street

           500 Technology Drive Suite 550
           Weldon Spring                               MT          63304          As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.                                           Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                                      Other. Specify
                  No
                                                                                       Utility Provider
                  Yes


4.27       Cox Communication                                                      Last 4 digits of account number 7305                                     $     134.39
           Nonpriority Creditor's Name

           6205-B Peachtree Dunwoody Road NE                                      When was the debt incurred?
           Number       Street



           Atlanta                                     GA          30328          As of the date you file, the claim is: Check all that apply
           City                                        State        ZIP Code
                                                                                       Contingent
           Who incurred the debt? Check one.
                                                                                       Unliquidated
                  Debtor 1 only                                                        Disputed
                  Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                  At least one of the debtors and another                             Student loans
                                                                                      Obligations arising out of a separation agreement or divorce
                  Check if this claim is for a community debt                         that you did not report as priority claims




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 11 of 14
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Debtor 1     Jeffrey                Ryan             Smith                                                         Case number (if known)
             First Name             Middle Name      Last Name




 Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.                                          Total claim

                                                                           Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?
                                                                           Other. Specify
               No
               Yes                                                          Utility Pass




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 14
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Debtor 1   Jeffrey           Ryan                  Smith                                                      Case number (if known)
           First Name        Middle Name           Last Name




 Part 3:      List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name

                                                                Line        of (Check one):      Part 1: Creditors with Priority Unsecured Claims
    Number    Street
                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims


                                                                Last 4 digits of account number
    City                               State     ZIP Code




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 13 of 14
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Debtor 1   Jeffrey                Ryan                 Smith                                               Case number (if known)
           First Name             Middle Name          Last Name




 Part 4:      Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.


                                                                                      Total claim


 Total claims 6a. Domestic support obligations                                 6a.
 from Part 1                                                                           $

                 6b. Taxes and certain other debts you owe the
                     government                                                6b.
                                                                                       $

                 6c. Claims for death or personal injury while you were
                     intoxicated                                               6c.
                                                                                       $

                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                   6d.
                                                                                      +$

                 6e. Total. Add lines 6a through 6d.                           6e.
                                                                                       $




                                                                                      Total claim


 Total claims        6f. Student loans                                          6f.
 from Part 2                                                                           $                   0.00
                 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                     claims                                                    6g.     $                   0.00

                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                             6h.
                                                                                       $                   0.00

                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                6i.
                                                                                      +$            149,071.17



                     6j. Total. Add lines 6f through 6i.                        6j.
                                                                                       $            149,071.17




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                            page 14 of 14
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Fill in this information to identify your case:

 Debtor 1              Jeffrey         Ryan                 Smith
                       First Name      Middle Name          Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name      Middle Name          Last Name

 United States Bankruptcy Court for the: Southern District of California

 Case number                                                                                                                           Check if this is an
 (If known)                                                                                                                            amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
   example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
   and unexpired leases.



           Person or company with whom you have the contract or lease                         State what the contract or lease is for


2.1           GDCV II BP Village Podium REIT, LLC                                       Residential Lease Agreement
              Name

              101 Park Plaza
              Number      Street




              San Diego                                    CA           92101
              City                                         State        ZIP Code

2.2           Amazon Services Inc.                                                      Amazon Business Solutions Agreement
              Name

              P.O. Box 81226
              Number      Street




              Seattle                                      WA           98108-1226
              City                                         State        ZIP Code




Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                                 page 1 of 1
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Fill in this information to identify your case:

 Debtor 1              Jeffrey                Ryan                 Smith
                       First Name             Middle Name          Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name             Middle Name          Last Name

 United States Bankruptcy Court for the: Southern District of California
                                                                                                                                             Check if this is an
 Case number
 (If known)                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1.       Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                No
                Yes
2.       Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
         Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                No. Go to line 3.
                Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                        No
                        Yes. In which community state or territory did you live?                          . Fill in the name and current address of that person.


                        Name of your spouse, former spouse, or legal equivalent


                        Number       Street




                        City                                         State              ZIP Code

3.       In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
         shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
         Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
         Schedule E/F, or Schedule G to fill out Column 2.
          Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt
                                                                                                           Check all schedules that apply:

                                                                                                                 Schedule D, line
              Name
                                                                                                                 Schedule E/F, line
              Number      Street
                                                                                                                 Schedule G, line



              City                                                     State            ZIP Code




Official Form 106H                                                           Schedule H: Your Codebtors                                            page 1 of 1
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Fill in this information to identify your case:

 Debtor 1              Jeffrey        Ryan                  Smith
                       First Name     Middle Name           Last Name
                                                                                                       Check if this is:
 Debtor 2                                                                                                   An amended filing
 (Spouse, if filing)
                       First Name     Middle Name           Last Name                                       A supplement showing postpetition chapter 13
 United States Bankruptcy Court for the: Southern District of California                                    income as of the following date:
 Case number
 (If known)                                                                                                 MM / DD / YYYY



Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:           Describe Employment

1. Fill in your employment                                                  Debtor 1                                   Debtor 2 or non-filing spouse
   information.

    If you have more than one job,
    attach a separate page with          Employment Status                        Employed                                   Employed
    information about additional
    employers.                                                                    Not employed                               Not employed

    Include part-time, seasonal, or
    self-employed work.

    Occupation may Include student
    or homemaker, if it applies

                                         Occupation


                                         Employer's name


                                         Employer's address
                                                                           Number Street                             Number Street




                                                                           City              State   Zip Code        City               State   Zip Code

                                         How long employed there?




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
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Debtor 1    Jeffrey                    Ryan                       Smith                                                              Case number (if known)
            First Name                 Middle Name                Last Name




 Part 2:        Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.
                                                                                                                     For Debtor 1    For Debtor 2 or
                                                                                                                                     non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll
   deductions). If not paid monthly, calculate what the monthly wage would be.                                2.     $                 $

3. Estimate and list monthly overtime pay.                                                                    3.    +$               +$

4. Calculate gross income. Add line 2 + line 3.                                                               4.     $                 $


   Copy line 4 here ........................................................................................ è 4.    $                 $

5. List all payroll deductions:

   5a. Tax, Medicare, and Social Security deductions                                                          5a.    $                 $

   5b. Mandatory contributions for retirement plans                                                           5b.    $                 $

   5c. Voluntary contributions for retirement plans                                                           5c.    $                 $

   5d. Required repayments of retirement fund loans                                                           5d.    $                 $

   5e. Insurance                                                                                              5e.    $                 $

   5f. Domestic support obligations                                                                           5f.    $                 $

   5g. Union dues                                                                                             5g.    $                 $

   5h. Other deductions. Specify:                                                                             5h. + $                +$

                                                                                                              5h. + $                +$

6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6.                                    $                 $


7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                        7.     $                 $


8. List all other income regularly received:

   8a. Net income from rental property and from operating business,
       profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                                                8a.    $        0.00     $

   8b. Interest and dividends                                                                                 8b.    $        0.00     $

   8c. Family support payment that you, a non-filing spouse, or a
       dependent regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                                               8c.    $        0.00     $

   8d. Unemployment compensation                                                                              8d.    $        0.00     $




Official Form 106I                                                                 Schedule I: Your Income                                                    page 2
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Debtor 1    Jeffrey            Ryan                Smith                                                         Case number (if known)
            First Name         Middle Name         Last Name




                                                                                            For Debtor 1        For Debtor 2 or
                                                                                                                non-filing spouse

    8e. Social Security                                                             8e.    $         0.00         $

    8f.    Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash
           assistance that you receive, such as food stamps (benefits under the
           Supplemental Nutrition Assistance Program) or housing subsidies.

           Specify: General Relief and Cal Fresh                                    8f.    $      855.00          $

                                                                                    8f.    $                      $

    8g. Pension or retirement income                                                8g.    $                      $

    8h. Other monthly income. Specify:                                              8h.   +$                    +$
                                                                                    8h.   +$                    +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.           9.     $      855.00          $

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.      10.    $      855.00    +     $                  =     $        855.00


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

    Specify:                                                                                                                  11.    +     $            0.00


12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies         12.         $        855.00

                                                                                                                                          Combined
                                                                                                                                          monthly income

13. Do you expect an increase or decrease within the year after you file this form?

           No.
           Yes. Explain:   My ability to earn an income is currently being blocked by a creditor (Amazon). My income would likely increase
                           substantially and this filing may become unnecessary or may need to be updated to reflect a different chapter, should I once
                           again have the ability to earn an income.




Official Form 106I                                              Schedule I: Your Income                                                        page 3
               Case 24-01743-CL7                     Filed 05/15/24                   Entered 05/15/24 16:26:28                     Doc 1           Pg. 46 of 70

Fill in this information to identify your case:

 Debtor 1              Jeffrey             Ryan                     Smith                                           Check if this is:
                       First Name          Middle Name              Last Name                                            An amended filing
 Debtor 2
 (Spouse, if filing)                                                                                                     A supplement showing postpetition chapter 13
                       First Name          Middle Name              Last Name                                            income as of the following date:
 United States Bankruptcy Court for the: Southern District of California
                                                                                                                         MM / DD / YYYY
 Case number
 (If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:               Describe Your Household

1.    Is this a joint case?

              No. Go to line 2.
              Yes. Does Debtor 2 live in a separate household?

                           No
                           Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                                                                    Dependent’s relationship to      Dependent’s          Does dependent live
                                                         No
                                                                                                 Debtor 1 or Debtor 2             age                  with you?
      Do not list Debtor 1 and                           Yes. Fill out this information for
      Debtor 2.                                          each dependent ......................                                                             No
                                                                                                                                                           Yes
      Do not state the dependents’
      names.                                                                                                                                               No
                                                                                                                                                           Yes

                                                                                                                                                           No
                                                                                                                                                           Yes

                                                                                                                                                           No
                                                                                                                                                           Yes

                                                                                                                                                           No
                                                                                                                                                           Yes


3.    Do your expenses include                           No
      expenses of people other than
      yourself and your dependents?                      Yes


 Part 2:               Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                             Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments and
      any rent for the ground or lot.                                                                                                   4.    $                   3,243.00

      If not included in line 4:

      4a. Real estate taxes                                                                                                             4a.   $

      4b. Property, homeowner’s, or renter’s insurance                                                                                  4b.   $



Official Form 106J                                                           Schedule J: Your Expenses                                                              page 1
           Case 24-01743-CL7                  Filed 05/15/24              Entered 05/15/24 16:26:28     Doc 1         Pg. 47 of 70
Debtor 1   Jeffrey             Ryan                Smith                                              Case number (if known)
           First Name          Middle Name         Last Name




                                                                                                                    Your expenses

     4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $

     4d. Homeowner’s association or condominium dues                                                     4d.    $

5.   Additional mortgage payments for your residence, such as home equity loans                          5.     $

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                  6a.    $                    150.00

     6b. Water, sewer, garbage collection                                                                6b.    $                     40.00

     6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                    110.00

     6d. Other Specify:                                                                                  6d.    $

7.   Food and housekeeping supplies                                                                      7.     $                    400.00

8.   Childcare and children’s education costs                                                            8.     $                      0.00

9.   Clothing, laundry, and dry cleaning                                                                 9.     $                      0.00

10. Personal care products and services                                                                  10.    $                    100.00

11. Medical and dental expenses                                                                          11.    $                      0.00
12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                        12.    $                      0.00

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                   13.    $                      0.00

14. Charitable contributions and religious donations                                                     14.    $                      0.00
15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20

     15a. Life insurance                                                                                 15a.   $

     15b. Health insurance                                                                               15b.   $                      0.00

     15c. Vehicle insurance                                                                              15c.   $                    165.00

     15d. Other. Specify: Pet Insurance                                                                  15d.   $                    185.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

     Specify:                                                                                            16.    $                      0.00

17. Installment or lease payments:

     17a. Car payments for Vehicle 1                                                                     17a.   $                   1,643.00

     17b. Car payments for Vehicle 2                                                                     17b.   $

     17c. Other. Specify:                                                                                17c.   $

     17d. Other. Specify:                                                                                17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule I, Your Income (Official Form 106I).                                   18.    $                      0.00

19. Other payments you make to support others who do not live with you.




Official Form 106J                                              Schedule J: Your Expenses                                             page 2
            Case 24-01743-CL7                 Filed 05/15/24           Entered 05/15/24 16:26:28                  Doc 1          Pg. 48 of 70
Debtor 1   Jeffrey              Ryan                 Smith                                                      Case number (if known)
           First Name           Middle Name          Last Name




                                                                                                                               Your expenses

     Specify:                                                                                                      19.     $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     20a. Mortgages on other property                                                                              20a.    $                      0.00

     20b. Real estate taxes                                                                                        20b.    $                      0.00

     20c. Property, homeowner’s, or renter’s insurance                                                             20c.    $                      0.00

     20d. Maintenance, repair, and upkeep expenses                                                                 20d.    $                      0.00

     20e. Homeowner’s association or condominium dues                                                              20e.    $                      0.00

21. Other. Specify:                                                                                                21.    +$                      0.00


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                                  22a.    $                   6,036.00

     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.    $

     22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.    $                   6,036.00


23. Calculate your monthly net income.

     23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a.    $                    855.00

     23b. Copy your monthly expenses from line 22c above.                                                          23b.   -$                   6,036.00

     23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                 23c.    $                      0.00




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:    Should I once again be able to earn an income, I would no longer qualify for Medi-CAL, increasing my health
                                 insurance costs from $0 to approximately $300, monthly.




Official Form 106J                                               Schedule J: Your Expenses                                                       page 3
                 Case 24-01743-CL7                    Filed 05/15/24            Entered 05/15/24 16:26:28                   Doc 1         Pg. 49 of 70

Fill in this information to identify your case:                                                          Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1              Jeffrey          Ryan                 Smith
                                                                                                              1. There is no presumption of abuse.
                       First Name       Middle Name          Last Name
 Debtor 2                                                                                                     2. The calculation to determine if a presumption
 (Spouse, if filing)                                                                                             of abuse applies will be made under Chapter 7
                       First Name       Middle Name          Last Name                                           Means Test Calculation (Official Form 122A–2).
 United States Bankruptcy Court for the: Southern District of California                                      3. The Means Test does not apply now because of
 Case number                                                                                                     qualified military service but it could apply later.
 (If known)

                                                                                                              Check if this is an amended filing

Official Form 122A–1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:               Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. You and your spouse are:
                  Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
     Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                         Column A              Column B
                                                                                                         Debtor 1              Debtor 2 or
                                                                                                                               non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                      $          0.00        $
 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                $          0.00        $
 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                              $          0.00        $
 5. Net income from operating a business, profession,
    or farm                                                          Debtor 1      Debtor 2

     Gross receipts (before all deductions)                          $      0.00   $

     Ordinary and necessary operating expenses                    -$        0.00 - $
                                                                                                 Copy
     Net monthly income from a business, profession, or farm $              0.00   $             here è $            0.00        $

 6. Net income from rental and other real property                   Debtor 1      Debtor 2

     Gross receipts (before all deductions)                          $      0.00   $

     Ordinary and necessary operating expenses                    -$        0.00 - $
                                                                                                 Copy
     Net monthly income from rental or other real property           $      0.00   $             here è $            0.00        $



Official Form 122A–1                                       Chapter 7 Statement of Your Current Monthly Income                                               page 1
                Case 24-01743-CL7                                 Filed 05/15/24               Entered 05/15/24 16:26:28                         Doc 1            Pg. 50 of 70
Debtor 1    Jeffrey                      Ryan                          Smith                                                                Case number (if known)
            First Name                   Middle Name                   Last Name




                                                                                                                             Column A                  Column B
                                                                                                                             Debtor 1                  Debtor 2 or
                                                                                                                                                       non-filing spouse

 7. Interest, dividends, and royalties                                                                                         $          0.00          $

 8. Unemployment compensation                                                                                                  $          0.00          $
    Do not enter the amount if you contend that the amount received was a benefit
    under the Social Security Act. Instead, list it here: ...........................




                                                                                               è
    For you .............................................................................. $        0.00

    For your spouse ................................................................ $

 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act. Also, except as stated in the next sentence, do                                     $          0.00          $
    not include any compensation, pension, pay, annuity, or allowance paid by the
    United States Government in connection with a disability, combat-related injury or
    disability, or death of a member of the uniformed services. If you received any
    retired pay paid under chapter 61 of title 10, then include that pay only to the extent
    that it does not exceed the amount of retired pay to which you would otherwise be
    entitled if retired under any provision of title 10 other than chapter 61 of that title.
10. Income from all other sources not listed above. Specify the source and amount.
    Do not include any benefits received under the Social Security Act; payments received
    as a victim of a war crime, a crime against humanity, or international or domestic
    terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below.

                                                                                                                              $                         $

                                                                                                                              $                         $

    Total amounts from separate pages, if any.                                                                              +$            0.00         +$

11. Calculate your total current monthly income. Add lines 2 through 10 for each
    column. Then add the total for Column A to the total for Column B.                                                         $          0.00     +    $                = $         0.00

                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income


 Part 2:          Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.       Copy your total current monthly income from line 11. .......................................................................... Copy line 11 here è         $        0.00

    Multiply by 12 (the number of months in a year).                                                                                                                       x 12

    12b.       The result is your annual income for this part of the form.                                                                                        12b.     $        0.00


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                                       CA

    Fill in the number of people in your household.                                            1

    Fill in the median family income for your state and size of household. ....................................................................................   13.      $ 74,819.00

    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk’s office.




Official Form 122A–1                                                         Chapter 7 Statement of Your Current Monthly Income                                                   page 2
             Case 24-01743-CL7                      Filed 05/15/24             Entered 05/15/24 16:26:28                        Doc 1        Pg. 51 of 70
Debtor 1   Jeffrey                 Ryan                 Smith                                                               Case number (if known)
           First Name              Middle Name          Last Name




14. How do the lines compare?

    14a.       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b.       Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
               Go to Part 3 and fill out Form 122A–2.

 Part 3:        Sign Below

               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                X                                                                               X
                     Signature of Debtor 1                                                          Signature of Debtor 2


                     Date 05/13/2024                                                                Date
                             MM / DD / YYYY                                                                MM / DD / YYYY


                        If you checked line 14a, do NOT fill out or file Form 122A–2.
                        If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A–1                                         Chapter 7 Statement of Your Current Monthly Income                                        page 3
              Case 24-01743-CL7                        Filed 05/15/24        Entered 05/15/24 16:26:28                  Doc 1       Pg. 52 of 70

Fill in this information to identify your case:

 Debtor 1              Jeffrey               Ryan              Smith
                       First Name            Middle Name       Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name            Middle Name       Last Name

 United States Bankruptcy Court for the: Southern District of California
 Case number
 (If known)                                                                                                     Check if this is an amended filing



Official Form 122A─1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


 Part 1:               Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
              submit this supplement with the signed Form 122A-1.
          Yes. Go to Part 2.

 Part 2:               Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

          No. Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                         No. Go to line 3.
                         Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                              Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?

          No. Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                 No. Complete Form 122A-1. Do not submit this supplement.
                 Yes. Check any one of the following categories that applies:

                        I was called to active duty after September 11, 2001, for at least        If you checked one of the categories to the left, go to
                        90 days and remain on active duty.                                        Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                  check box 3, The Means Test does not apply now, and
                        I was called to active duty after September 11, 2001, for at least        sign Part 3. Then submit this supplement with the signed
                        90 days and was released from active duty on                     ,
                                                                                                  Form 122A-1. You are not required to fill out the rest of
                        which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 122A-1 during the exclusion period. The
                        I am performing a homeland defense activity for at least 90 days.         exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                        I performed a homeland defense activity for at least 90 days,             540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                        ending on                       , which is fewer than 540 days
                        before I file this bankruptcy case.                                       If your exclusion period ends before your case is closed,
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                         Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
               Case 24-01743-CL7                       Filed 05/15/24         Entered 05/15/24 16:26:28                  Doc 1     Pg. 53 of 70

Fill in this information to identify your case:

 Debtor 1              Jeffrey               Ryan                Smith
                       First Name            Middle Name         Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name            Middle Name         Last Name

 United States Bankruptcy Court for the: Southern District of California
                                                                                                                                        Check if this is an
 Case number                                                                                                                            amended filing
 (If known)




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:             Give Details About Your Marital Status and Where You Lived Before


 1.   What is your current marital status?
              Married
              Not married


 2.   During the last 3 years, have you lived anywhere other than where you live now?
              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                           Dates Debtor 1       Debtor 2:                                   Dates Debtor 2
                                                                   lived there                                                      lived there


                                                                                            Same as Debtor 1                           Same as Debtor 1

              1110 F Street                                       From 09/01/2019                                                      From
              Number        Street                                                           Number    Street
                                                                  To     02/12/2024                                                    To


              San Diego              CA       92101
              City                   State    ZIP Code                                       City               State   ZIP Code



 3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 1
            Case 24-01743-CL7                   Filed 05/15/24                Entered 05/15/24 16:26:28                Doc 1         Pg. 54 of 70
Debtor 1   Jeffrey                Ryan                Smith                                                         Case number (if known)
           First Name             Middle Name         Last Name




 Part 2:        Explain the Sources of Your Income


 4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
           No
           Yes. Fill in the details.

                                                      Debtor 1:                                            Debtor 2:

                                                      Source of Income            Gross income             Source of Income           Gross income
                                                      Check all that apply.       (before deductions and   Check all that apply.      (before deductions and
                                                                                  exclusions)                                         exclusions)

           From January 1 of current year until          Wages, commissions,      $                            Wages, commissions,     $
           the date you filed for bankruptcy:            bonuses, tips                                         bonuses, tips
                                                         Operating Business                                    Operating Business


           For last calendar year:                        Wages, commissions,     $           148,643.00       Wages, commissions,     $
                                                          bonuses, tips                                        bonuses, tips
           (January 1 to December 31, 2023        )
                                                          Operating Business                                   Operating Business
                                         YYYY


           For last calendar year before that:            Wages, commissions,     $           230,705.00       Wages, commissions,     $
                                                          bonuses, tips                                        bonuses, tips
           (January 1 to December 31, 2022        )
                                                          Operating Business                                   Operating Business
                                         YYYY


 5.   Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.
           No
           Yes. Fill in the details.

                                                      Debtor 1:                                            Debtor 2:

                                                      Source of Income            Gross income from        Source of Income           Gross income from
                                                      Describe below.             each source              Describe below.            each source
                                                                                  (before deductions and                              (before deductions and
                                                                                  exclusions)                                         exclusions)

           From January 1 of current year until                                   $                                                    $
           the date you filed for bankruptcy:
                                                                                  $                                                    $

                                                                                  $                                                    $


           For last calendar year:                                                $                                                    $
           (January 1 to December 31,             )                               $                                                    $
                                         YYYY
                                                                                  $                                                    $


           For the calendar year before that:                                     $                                                    $
           (January 1 to December 31,             )                               $                                                    $
                                         YYYY
                                                                                  $                                                    $




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2
            Case 24-01743-CL7                    Filed 05/15/24            Entered 05/15/24 16:26:28                    Doc 1          Pg. 55 of 70
Debtor 1   Jeffrey                Ryan                  Smith                                                         Case number (if known)
           First Name             Middle Name           Last Name




 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy


 6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                      Dates of           Total amount paid      Amount you still owe     Was this payment for ...
                                                                      payment

                                                                                         $                       $                             Mortgage
                        Creditor's Name                                                                                                        Car
                                                                                                                                               Credit Card
                        Number    Street                                                                                                       Loan Repayment
                                                                                                                                               Suppliers or vendors
                                                                                                                                               Other

                        City                    State   ZIP Code


 7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony

           No.
           Yes. List all payments to an insider.

                                                                      Dates of           Total amount           Amount you still owe     Reason for this payment
                                                                      payment            paid


                                                                                         $                       $
           Insider's Name


           Number       Street




           City                                 State   ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 3
            Case 24-01743-CL7                   Filed 05/15/24          Entered 05/15/24 16:26:28                 Doc 1          Pg. 56 of 70
Debtor 1   Jeffrey               Ryan                  Smith                                                   Case number (if known)
           First Name            Middle Name           Last Name




 8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.
           No.
           Yes. List all payments that benefited an insider

                                                                   Dates of          Total amount         Amount you still owe     Reason for this payment
                                                                   payment           paid                                          Include creditor's name


                                                                                    $                      $
           Insider's Name


           Number       Street




           City                                State   ZIP Code




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Debtor 1   Jeffrey                      Ryan                    Smith                                                           Case number (if known)
           First Name                   Middle Name             Last Name




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures


 9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.
           No
           Yes. Fill in the details.

                                                                 Nature of the case                     Court or agency                                Status of the case


           Case title F11 San Diego                              Unlawful Detainer                      Superior Court of California, County of San        Pending
                      Apartments, LLC v Smith,                                                          Diego                                              On appeal
                      Jeffrey                                                                           Court Name
                                                                                                                                                           Concluded
                                                                                                        330 West Broadway
                                                                                                        Number   Street
           Case number 37-2023-0012554-CL-
                       UD-CTL

                                                                                                        San Diego             CA       92101
                                                                                                        City                  State    ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                             Describe the property                                    Date             Value of the property


                                                                                                                                                       $
                   Creditor's Name

                                                                             Explain what happened
                   Number      Street
                                                                                 Property was repossessed.
                                                                                 Property was foreclosed.
                                                                                 Property was garnished.
                   City                            State    ZIP Code             Property was attached, seized, or levied.


 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

                                                                        Describe the action the creditor took                         Date action      Amount
                                                                                                                                      was taken


                                                                                                                                                       $
           Creditor's Name


           Number         Street




                                                                        Last 4 digits of account number: XXXX–
           City                            State     ZIP Code




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Debtor 1   Jeffrey                Ryan                       Smith                                                  Case number (if known)
           First Name             Middle Name                Last Name




 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes



 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600               Describe the gifts                                 Dates you gave   Value
            per person                                                                                                  the gifts


                                                                                                                                             $
           Person to Whom You Gave the Gift


           Number       Street




           City                           State   ZIP Code

           Person's relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           No
           Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                      Describe what you contributed                      Date you         Value
            that total more than $600                                                                                   contributed


                                                                                                                                         $
           Charity’s Name


           Number       Street




           City                           State   ZIP Code



 Part 6:          List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

           No
           Yes. Fill in the details.




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Debtor 1   Jeffrey                Ryan                    Smith                                                                        Case number (if known)
           First Name             Middle Name             Last Name




            Describe the property you lost and                    Describe any insurance coverage for the loss                            Date of your          Value of property
            how the loss occurred                                                                                                         loss                  lost
                                                                  Include the amount that insurance has paid. List pending insurance
                                                                  claims on line 33 of Schedule A/B: Property.


            Bicycle Theft                                         Full payment of replacement cost, less $100 deductible                  01/16/2024            $           3,200.00




 Part 7:          List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
           No
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                      Date payment or       Amount of payment
                                                                                                                                          transfer was
                                                                                                                                          made

                                                                                                                                                                $
           Person Who Was Paid


           Number       Street




           City                        State   ZIP Code


           Email or website address


           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.
           No
           Yes. Fill in the details.

                                                                  Description and value of any property transferred                       Date payment or       Amount of payment
                                                                                                                                          transfer was
                                                                                                                                          made

                                                                                                                                                                $
           Person Who Was Paid


           Number       Street




           City                        State   ZIP Code




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Debtor 1   Jeffrey                Ryan                       Smith                                                             Case number (if known)
           First Name             Middle Name                Last Name




 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.

           No
           Yes. Fill in the details.

                                                                     Description and value of property       Describe any property or payments             Date transfer
                                                                     transferred                             received or debts paid in exchange            was made



           Person Who Received Transfer


           Number       Street




           City                           State   ZIP Code

           Person's relationship to you


 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

           No
           Yes. Fill in the details.

                                                                     Description and value of the property transferred                                     Date transfer
                                                                                                                                                           was made


           Name of trust




 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                                     Last 4 digits of account number     Type of account or   Date account was       Last balance before
                                                                                                         instrument           closed, sold, moved,   closing or transfer
                                                                                                                              or transferred


                                                                     XXXX–                                  Checking                                 $
           Name of Financial Institution                                                                    Savings
                                                                                                            Money market
           Number       Street                                                                              Brokerage
                                                                                                            Other




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 8
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Debtor 1   Jeffrey                Ryan                    Smith                                                        Case number (if known)
           First Name             Middle Name             Last Name




           City                        State   ZIP Code



 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?

           No
           Yes. Fill in the details.

                                                                  Who else had access to it?                     Describe the contents              Do you still
                                                                                                                                                    have it?

                                                                                                                                                         No
           Name of Financial Institution                          Name                                                                                   Yes


           Number       Street                                    Number    Street




           City                        State   ZIP Code           City                     State      ZIP Code


 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.

                                                                  Who else has or had access to it?              Describe the contents              Do you still
                                                                                                                                                    have it?

                                                                                                                                                         No
           Name of Storage Facility                               Name                                                                                   Yes


           Number       Street                                    Number    Street




           City                        State   ZIP Code           City                     State      ZIP Code



 Part 9:          Identify Property You Hold or Control for Someone Else


 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                                  Where is the property?                         Describe the property      Value




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Debtor 1   Jeffrey                Ryan                    Smith                                                                  Case number (if known)
           First Name             Middle Name             Last Name




                                                                                                                                                      $
           Owner’s Name


           Number       Street                                    Number    Street




           City                        State   ZIP Code           City                         State   ZIP Code



 Part 10:         Give Details About Environmental Information


 For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.


 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.

                                                                  Governmental unit                               Environmental law, if you know it       Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street




           City                        State   ZIP Code            City                State   ZIP Code


 25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.

                                                                  Governmental unit                               Environmental law, if you know it       Date of notice



           Name of site                                            Governmental unit


           Number       Street                                     Number    Street




           City                        State   ZIP Code            City                State   ZIP Code




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Debtor 1   Jeffrey                Ryan                    Smith                                                        Case number (if known)
           First Name             Middle Name             Last Name




 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.

                                                                  Court or agency                       Nature of the case                         Status of the
                                                                                                                                                   case

           Case title                                                                                                                                  Pending
                                                                  Court Name                                                                           On appeal

           Case number                                                                                                                                 Concluded
                                                                  Number    Street




                                                                  City               State   ZIP Code



 Part 11:         Give Details About Your Business or Connections to Any Business


 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                                  Describe the nature of the business              Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.

           Self Employed                                          ecommerce retail
           Business Name                                                                                            EIN:

           101 Park Plaza
           Number       Street                                    Name of accountant or bookkeeper                 Dates business existed


                                                                                                                    From 02/16/2016         To 05/06/2024
           San Deigp                   CA      92101
           City                        State   ZIP Code


 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                                  Date issued



           Name                                                   MM / DD / YYYY


           Number       Street




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Debtor 1   Jeffrey                  Ryan                  Smith                                                     Case number (if known)
           First Name               Middle Name           Last Name




           City                        State   ZIP Code



 Part 12:         Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



       X                                                                X
            Signature of Debtor 1                                           Signature of Debtor 2


            Date 05/13/2024                                                 Date


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No
           Yes



      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No
           Yes. Name of Person                                                                      . Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                      Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 12
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Fill in this information to identify your case:

 Debtor 1              Jeffrey         Ryan                 Smith
                       First Name      Middle Name          Last Name
 Debtor 2
 (Spouse, if filing)
                       First Name      Middle Name          Last Name

 United States Bankruptcy Court for the: Southern District of California

 Case number                                                                                                                              Check if this is an
 (If known)
                                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

 Part 1:               List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
    information below.
        Identify the creditor and the property that is collateral           What do you intend to do with the property that    Did you claim the property
                                                                            secures a debt?                                    as exempt on Schedule C?

      Creditor’s Audi Financial Services                                       Surrender the property.                               No
      name:
                                                                               Retain the property and redeem it.                    Yes
      Description of 2022 Audi eTron                                           Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:




 Part 2:               List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                Will the lease be assumed?


      Lessor's name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:




Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
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Debtor 1   Jeffrey            Ryan               Smith                                                      Case number (if known)
           First Name         Middle Name        Last Name




 Part 3:       Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
   personal property that is subject to an unexpired lease.


 X                                                       X
      Signature of Debtor 1                                  Signature of Debtor 2

      Date 05/13/2024                                        Date
            MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                               page 2
             Case 24-01743-CL7                 Filed 05/15/24             Entered 05/15/24 16:26:28              Doc 1       Pg. 67 of 70

Fill in this information to identify your case:

Debtor 1              Jeffrey        Ryan                  Smith
                      First Name     Middle Name           Last Name
Debtor 2
(Spouse, if filing)
                      First Name     Middle Name           Last Name

United States Bankruptcy Court for the: Southern District of California

Case number
(If known)




Mailing List                       List contains the name and address of each entity included on Schedules D, E/F, G, H and Creditor Information.



 Audi Financial Services
 1401 Franklin Blvd.


 Libertyville                                        IL         60048

 Capital One Financial Corporation (Spark Business Card)
 PO Box 30285


 Salt Lake City                                      UT         84130-0285

 Capital One Financial Corporation (Quicksilver Card)
 PO Box 30285


 Salt Lake City                                      UT         84130-0285

 American Express (Amazon Business Card)
 ATTN: Datamark INC.
 PO Box 53888 43 Bufferfield
 El Paso                                             TX         79906-3888

 FIRST SAVINGS BANK (Blaze Mastercard)
 PO Box 5096


 Sioux Falls                                         SD         57117-5096

 First Bank & Trust (Mercury Mastercard)
 PO Box 84064


 Columbus                                            GA         31908-4064

 Citibank, N.A. (Macys American Express)
 P.O. Box 6781


 Sioux Falls                                         SD         57117-6781

 Citibank, N.A (AA Advantage Mastercard)
 P.O. Box 7032


 Sioux Falls                                         SD         57117-7032




                                                                          Mailing List                                                  page 1 of 4
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Debtor 1   Jeffrey             Ryan             Smith                                          Case number (if known)
           First Name          Middle Name      Last Name




 Citibank, N.A (My Best Buy Credit Card)
 P.O. Box 790441


 St. Louis                                      MO          63179-0441

 TD Bank USA (Target Red Card)
 Mail Stop NCB-0461
 P.O. Box 673
 Minneapolis                                    MN          55440-0673

 Synchrony Bank (CB2 Mastercard)
 PO Box 71744


 Philadelphia                                   PA          19176-1744

 Synchrony Bank (Care Credit)
 PO Box 71744


 Philadelphia                                   PA          19176-1744

 American Express (Blue Cash Preferred)
 ATTN: Datamark INC.
 PO Box 53888 43 Bufferfield
 El Paso                                        TX

 Chase Bank N.A. (Freedom Unlimited Mastercard)
 P.O. Box 15298


 Wilmington                                     DE          19850-5298

 Discover Bank (Discover IT Plum Card)
 P.O. Box 30943


 Salt Lake City                                 UT          84130-0943

 Goldman Sachs (Apple Card)
 Lockbox 6112
 P.O. Box 7247
 Philadelphia                                   PA          19170-6112

 First National Bank of Omaha - FNBO (Verizon Wireless Mastercard)
 P.O. Box 2340


 Omaha                                          NE          68103-2557

 American Express (Green Rewards Card)
 ATTN: Datamark INC.
 PO Box 53888 43 Bufferfield
 El Paso                                        TX          79906-3888




                                                                     Mailing List                                       page 2 of 4
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           First Name        Middle Name      Last Name




 US Bank N.A. (Triple Cash Back Visa)
 P.O. Box 6353


 Fargo                                        ND          58125-6353

 Amazon Services Inc (Seller Account)
 P.O. Box 81226


 Seattle                                      WA          98108-1226

 Apple Inc
 One Apple Park Way


 Cupertino                                    CA          95014

 SoFi Bank, N.A.
 2750 East Cottonwood Parkway
  Suite 300
 Salt Lake City                               UT          84121

 Affirm Lending
 650 California Street


 San Francisco                                CA          94108

 GDCV II BP Village Podium REIT, LLC
 101 Park Plaza


 San Diego                                    CA          92101

 SDGE
 P.O. Box 25111


 SANTA ANA                                    CA          92799-5111

 SDGE
 P.O. Box 25111


 Santa Ana                                    CA          92799-5111

 Verizon Wireless
 Bankruptcy Administration
 500 Technology Drive Suite 550
 Weldon Spring                                MT          63304

 Cox Communication
 6205-B Peachtree Dunwoody Road NE


 Atlanta                                      GA          30328




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Debtor 1   Jeffrey        Ryan             Smith                                           Case number (if known)
           First Name     Middle Name      Last Name




 GDCV II BP Village Podium REIT, LLC
 101 Park Plaza


 San Diego                                 CA          92101

 Amazon Services Inc.
 P.O. Box 81226


 Seattle                                   WA          98108-1226




                                                               Mailing List                                         page 4 of 4
